    Case 23-01577-5-DMW                    Doc 26 Filed 08/04/23 Entered 08/04/23 07:12:08                Page 1 of 1
VAN−140 Order Restricting Public Access (Hearing) − Rev. 01/06/2022

                              UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF NORTH CAROLINA
                                                         Wilmington Division

IN RE:
TSR, LLC                                                              CASE NO.: 23−01577−5−DMW
( known aliases: TSR Hobbies )
208 South Front Street, Unit 3                                        DATE FILED: June 8, 2023
Wilmington, NC 28401
                                                                      CHAPTER: 7
TaxID: 85−3179777




                           ORDER RESTRICTING PUBLIC ACCESS TO PROOF OF CLAIM

An Ex Parte Motion for an Order to restrict public access to the proof of claim and/or exhibits was filed by
creditor Michael K. Hovermale in the above−named case. The Court has considered the motion and finds
that no further notice need be provided to grant the relief requested, and based on the motion, the
pleadings in the case, and the applicable law, cause exists for granting the relief requested. Wherefore, it
is

ORDERED that the Motion is granted; and it is further

ORDERED that the Clerk of this Court is hereby directed to restrict public access on the Court's electronic
filing system to the proof of claim and/or exhibits to the claim(s) identified in the Motion. Access to the filed
proof of claim and/or exhibits to which public access is restricted may be provided to the Debtor(s),
Debtor's attorney, the Trustee, and the Bankruptcy Administrator upon motion; and it is further

ORDERED that Michael K. Hovermale is directed to file a redacted proof of claim and/or exhibits within 30
days of the date of this order. The redacted proof of claim and/or exhibits shall have full public access; and
it is further

ORDERED that in the event a redacted proof of claim is not filed within 30 days, a show cause hearing will
be held to determine whether the claim shall be denied as follows:

DATE:          Thursday, September 28, 2023
TIME:          10:00 AM
PLACE:         1003 S. 17th Street, Room 118, Wilmington, NC 28401


ORDERED that in the event the above−named case is closed, it will not be necessary for the case to be
reopened; and it is further

ORDERED that the Court shall retain jurisdiction relating to the implementation and interpretation of this
Order.

DATED: August 4, 2023

                                                                         David M. Warren
                                                                         United States Bankruptcy Judge
